Case 1:20-cv-00170-LMB-JFA Document 34 Filed 08/04/20 Page 1 of 1 PageID# 167
                                                               Wiggin and Dana LLP                    Kevin Carroll
                                                               800 17th Street, NW                    202.800.2475
                                                               Suite 520
                                                                                                      203.782.2889 fax
                                                               Washington, DC 20006
                                                               www.wiggin.com                         kcarroll@wiggin.com



VIA ECF

August 4, 2020

Honorable Leonie M. Brinkema
U.S. District Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314

Re:    Al-Suyid et al. v. Hifter et al., 1:20-cv-00170-LMB-JFA
       U.S. District Court for the Eastern District of Virginia

Dear Judge Brinkema:

We represent the plaintiffs in the captioned case and write to briefly respond to the letter
dated July 31, 2020 from Tucker Levin, PLLC, who apparently now represent defendant
Khalifa Hifter.

Preliminarily, we note that no mention of co-defendants Khalid Hifter or Saddam Hifter is
made in Tucker Levin’s letter. It therefore appears that those two defendants remain
unrepresented.

With respect to Tucker Levin’s request that the Court “allow Gen. Hifter to enter these matters
and respond substantively and procedurally to the complaints and Magistrate reports and
recommendations,” plaintiffs oppose that request at this late hour, based on the fact that the
defendants were properly served (see Mag. Judge Anderson’s Proposed Findings of Fact
and Recommendations dated June 17, 2020 at pp. 6-7), and this case has received
widespread media coverage, including in the middle east, from the date of filing in February.
Plaintiffs would also oppose any motion to consolidate this case with the Elzagally case (1:19-
cv-00853-LMB-MSN), as the only fact/issue common to the two cases is the allegation of
violation of the TVPA by Khalifa Hifter.

We would therefore respectfully request that the Court deny the request from Tucker Levin
and enter its decision and judgment in line with Magistrate Judge Anderson’s Proposed
Findings of Fact and Recommendations dated June 17, 2020.

Respectfully submitted,

/s/ Kevin Carroll                /s/ Joseph G. Grasso
Kevin Carroll                    Joseph G. Grasso (admitted pro hac vice)

WIGGIN AND DANA LLP
Attorneys for Plaintiffs Muna Al-Suyid, et al.

cc: All Parties via ECF; Duncan P. Levin, Esq.; Edward Ungvarsky, Esq.



                          C O N N E C T I C U T I N E W Y O R K I P H I L A D E L P H I A I WA S H I N G TO N , D C I PA L M B E A C H
